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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
_____________________________________
                                                )
 SOUTHERN UTAH WILDERNESS                       )
 ALLIANCE, et al.,                              )
                                                )
        Plaintiffs,                             )
                                                )
                v.                              ) Case No. 1:20-cv-03654-RC
                                                ) The Honorable Rudolph Contreras
 DEBRA HAALAND, in her official                 )
 capacity as Secretary of the Interior, et al., )
                                                )
        Federal Defendants,                     )
                                                )
                 and                            )
                                                )
 PURE HELIUM, LLC, et al.,                      )
                                                )
         Defendant-Intervenors.                 )


                                   JOINT STATUS REPORT

       On December 8, 2021, the Court granted Plaintiffs’ and Federal Defendants’ joint

motion for a stay of all deadlines and proceedings in this case for sixty days, to facilitate a

negotiated final resolution to this case. On June 9, 2022, following a series of joint status

reports requesting continuations of the stay, the Court ordered the parties to file a joint status

report on or before July 8, 2022, updating the Court on the status of those negotiations. See

Order of June 9, 2022.

       Plaintiffs and Federal Defendants have reached an agreement in principle on the terms

of a settlement agreement. They respectfully request that the stay of proceedings in this action

be continued for another thirty days, until August 8, 2022, to allow them to discuss the

proposed settlement with intervenors and obtain the necessary approvals to formally enter into

such an agreement. Achieving settlement in this case will serve the interests of judicial
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efficiency and economy by avoiding further time-consuming and costly litigation, thus

conserving the resources of the Court and the parties.

       If at the end of the period of stay Plaintiffs and Federal Defendants are still in the midst

of finalizing settlement, they will file a further joint status report updating the Court on the status

of negotiations. However, if at the end of the period of stay Plaintiffs and Federal Defendants

agree that they cannot finalize a settlement, the parties will submit a proposed amendment to the

briefing schedule previously established in this Court’s November 10, 2021 Minute Order.



Dated: July 8, 2022                                    Respectfully submitted,


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                                                       Environment and Natural Resources Div.

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